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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


        UNITED STATES OF AMERICA,            )
                                             )
                        Plaintiff,           )   CAUSE NO.:
                                             )   4:15-CR-00016-SEB/VTW
                                             )   Indianapolis, Indiana
                  -v-                        )   January 24th, 2017
                                             )   2:00 p.m.
        ROBERT D. JENKINS,                   )
                                             )
                        Defendant.           )



                               Before the Honorable
                             SARAH EVANS BARKER, JUDGE

                         OFFICIAL REPORTER'S TRANSCRIPT OF
                                SENTENCING HEARING

        For Government:        Bradley P. Shepard, Esq.
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        Court Reporter:        Laura Howie-Walters, FCRR, CSR, RPR
                               Official Court Reporter
                               United States District Court
                               46 E. Ohio Street
                               Room 217
                               Indianapolis, Indiana 46204
                    PROCEEDINGS TAKEN BY MACHINE SHORTHAND
        TRANSCRIPT PRODUCED BY ECLIPSE NT COMPUTER-AIDED TRANSCRIPTION
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   1                                 (Open court.)

   2                THE COURT:    Good afternoon, all.

   3                MR. SHEPARD:    Good afternoon, Your Honor.

   4                MR. INMAN:    Good afternoon, Your Honor.

   5                THE COURT:    Thank you for your indulgence on the

   6    schedule.    A last minute matter arose and that's the life we

   7    all chose to live a long time ago.        Last minute matters arise

   8    from time to time.     So thank you for indulging mine.

   9                You may be seated.     Good to see you.

  10                Ms. Rota, would you call the matter before the

  11    Court, please.

  12                        (Call to order of the Court)

  13                Mr. Inman, always nice to have you in court, sir.

  14                MR. INMAN:    Good to see you, Your Honor.       Thank you.

  15                THE COURT:    Would you escort Mr. Jenkins to the

  16    podium, please?

  17                MR. INMAN:    Yes, ma'am.

  18                THE COURT:    Mr. Shepard knows I feel the same way

  19    about him.

  20                MR. SHEPARD:    Thank you, Your Honor.

  21                THE COURT:    I just see him a little more often.

  22                Good afternoon, sir.

  23                THE DEFENDANT:    Good afternoon, Your Honor.       I'm

  24    trying to pull my shirt down.

  25                THE COURT:    Okay.   Can you help him, Mr. Inman?
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   1    It's hard to negotiate when you have your restraints on I

   2    know.

   3                THE DEFENDANT:    Thank you.

   4                MR. INMAN:    There we go.

   5                THE COURT:    Let me establish for the record that you

   6    are Robert D. Jenkins, the same person named by the clerk when

   7    she just called this matter?

   8                THE DEFENDANT:    Yes, Your Honor.

   9                THE COURT:    What is your age now, Mr. Jenkins?

  10                THE DEFENDANT:    Fifty-two.

  11                THE COURT:    You have your GED, it says in the

  12    report; is that right?

  13                THE DEFENDANT:    Yes, Your Honor.

  14                THE COURT:    So you can read and write the English

  15    language?

  16                THE DEFENDANT:    Yes.

  17                THE COURT:    I know you've been in custody, but prior

  18    to coming to court today, have you consumed any substance,

  19    alcohol, medicine or narcotic, that would interfere with your

  20    ability to understand and participate in this hearing?

  21                THE DEFENDANT:    No, Your Honor.

  22                THE COURT:    Are you under the care of a doctor for

  23    any condition that might interfere?

  24                THE DEFENDANT:    Just over-the-counter antacid.

  25                THE COURT:    That medicine brings you back to a point
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   1    of closer to normal function; is that right?

   2               THE DEFENDANT:     Yes.

   3               THE COURT:     Okay.

   4               THE DEFENDANT:     Just heartburn, acid reflux.

   5               THE COURT:     It happens about this age.

   6               THE DEFENDANT:     Yes.

   7               THE COURT:     So I understand that.

   8               On August 31st, 2016, you were before the Court for

   9    entry of a plea, which you did enter, pleading guilty to

  10    Count 1, the offense of production of child pornography.            The

  11    Court accepted your plea and found you guilty in accordance

  12    with that.

  13               Thereafter, this matter was referred to the

  14    probation department for purposes of preparing a Presentence

  15    Investigation Report.      That report has been prepared now and

  16    circulated for all to review.        I'm going to use the report in

  17    this hearing and take up today the issues that the Court has

  18    to decide with respect to a sentence in light of your

  19    conviction.

  20               So that's your reason for being in court today; is

  21    that how you understood it, sir?

  22               THE DEFENDANT:     Yes, Your Honor.

  23               THE COURT:     Now, speaking of the Presentence

  24    Investigation Report, did you have an opportunity to read the

  25    report carefully and discuss it with Mr. Inman?
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   1               THE DEFENDANT:     Yes, I did, Your Honor.

   2               THE COURT:     And, Mr. Inman, did you have sufficient

   3    time to review the report and discuss it with Mr. Jenkins?

   4               MR. INMAN:     I did, Your Honor.

   5               THE COURT:     Mr. Shepard, have you had sufficient

   6    time to review the report and prepare?

   7               MR. SHEPARD:     Yes, Your Honor.

   8               THE COURT:     Mr. Jenkins, when you read through the

   9    report, you probably noticed that it has two kinds of

  10    information.    One part has to do with you in a biographical

  11    sense, which is to say that it summarizes all of those

  12    biographical details that are particular to you and your life.

  13    So anyone who reads the report learns, as I did, about your

  14    childhood and your parents, your siblings, your upbringing,

  15    your education, your health, your work history, all of those

  16    things, all those biographical details.

  17               The other part of the report has to do with this

  18    offense that you've been found guilty of and how all the

  19    various sentencing options apply, the statute and the

  20    guidelines and any other factors that may bear on the decision

  21    that has to be made with respect to a reasonable sentence.

  22               So did you notice that about the report, that it has

  23    those two kinds of information?

  24               THE DEFENDANT:     Yes, Your Honor.

  25               THE COURT:     This is a document, as you can tell
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   1    then, that's personal to you.        And as such, we keep it in a

   2    confidential status in the court's records.          So you don't need

   3    to worry about it getting out to the media or to the public.

   4    Its uses are limited by law and by regulation to only a few

   5    authorized recipients, such as the probation department and

   6    the court, the Bureau of Prisons and so forth.

   7                Beyond that, access will not be permitted.         So you

   8    don't need to worry, as I said, about the report reaching

   9    other hands that might cause some problems with family members

  10    or some security issues because of the dissemination of the

  11    document.

  12                Besides the report itself, I have the victim impact

  13    statements.    There were four.      One was in writing.     Three were

  14    by video.    And I've reviewed all of those victim impact

  15    statements.

  16                Did you have an opportunity to review those as well?

  17                THE DEFENDANT:    Yes.

  18                MR. INMAN:    Yes, Judge.    We met last Thursday and

  19    discussed those, and he had an opportunity to review them.

  20                THE COURT:    Did he review them?

  21                MR. INMAN:    He reviewed the written one.       The

  22    Exhibit C was consistent with the allegations of his sister

  23    that were in a 302, and he chose not to watch that or the

  24    other two statements.

  25                THE COURT:    The victim of this particular offense,
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   1    the young nine-year-old-girl, did he read those --

   2               MR. INMAN:     Yes.

   3               THE COURT:     -- or --

   4               MR. INMAN:     Well, no, he didn't review the video.

   5               THE COURT:     Or otherwise review them on the video?

   6               MR. INMAN:     He did not want to review the video.         I

   7    gave him the opportunity.        We just talked generally about what

   8    the statement said, and we don't refute the statements.

   9               THE COURT:     I just missed what you said. I'm sorry.

  10               MR. INMAN:     Of the four exhibits, the written

  11    exhibit he reviewed --

  12               THE COURT:     Yes.

  13               MR. INMAN:     -- which is Exhibit D.

  14               Exhibit C is the statement from his step sister or

  15    half-sister --

  16               THE COURT:     His half.

  17               MR. INMAN:     -- which we refute.

  18               THE COURT:     You refute?

  19               MR. INMAN:     Yes, we deny that.     It was consistent

  20    with the 302 report we'd been provided some time ago, which is

  21    noted in the notice by the Government.

  22               THE COURT:     How do you know it's consistent?

  23               MR. INMAN:     Well, I've seen it.

  24               THE COURT:     You've seen all the victim impact

  25    statements?
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   1               MR. INMAN:     Yes.   And I told him we were just going

   2    to come in and refute that, and he was fine with that.

   3               And then as far as --

   4               THE COURT:     But his knowledge of it is from the 302?

   5               MR. INMAN:     Yes.

   6               THE COURT:     He did read the 302 then?

   7               MR. INMAN:     Yes, he has a copy of the 302.       He's had

   8    it for some time.

   9               THE COURT:     Then there was a child who was the

  10    victim here and another child?

  11               MR. INMAN:     Well, the child and the child's mother.

  12               THE COURT:     That's right.    The child and the child's

  13    mother.   Were they reviewed?

  14               MR. INMAN:     They were not reviewed by him.       I gave

  15    him the opportunity.      I had them.    I reviewed them. I told him

  16    generally what they said.        He said that's what he thought that

  17    they would say.     And so, you know, we have no refutation to

  18    that or nothing to present as to that.

  19               THE COURT:     All right.

  20               MR. INMAN:     So he's aware of them.      He chose not to

  21    review them.    I summarized them for him.       He's aware of what

  22    they said.    It's no surprise to him as to what they said.            And

  23    I feel confident that he understands.

  24               THE COURT:     I assume there was no surprise.       He pled

  25    guilty to the offense and they are the gravamen of the
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   1    offense.

   2               MR. INMAN:     Right.

   3               THE COURT:     So I have reviewed them, which you need

   4    to know.   Besides those victim impact statements and the

   5    matters that have been filed with the court, nothing else has

   6    come to me that I've withheld from you.         So there have been no

   7    other communications, no letters, no e-mails, nothing like

   8    that.   So you know everything that I know on the basis of

   9    which I'll make a sentencing decision today.          Do you

  10    understand that?

  11               THE DEFENDANT:     Yes, Your Honor.

  12               THE COURT:     Now, the point at which we're headed in

  13    this hearing is for me to have a clear enough understanding of

  14    the offense conduct and what led up to it, and the harm that

  15    was caused by it and so forth, that all of those factors can

  16    be folded into the final decision.        And to the extent that I

  17    succeed in incorporating those factors, it will be deemed a

  18    legally-reasonable sentence, and that's my responsibility is

  19    to impose a legally-reasonable sentence.

  20               Now, you know what those factors are, by and large,

  21    that I'll be taking into account because they're laid out in

  22    the report, which you've read.       And the probation officer,

  23    Miss Neat, has included them back pretty close to the last

  24    page, usually close to her signature.        And so it is on page

  25    17.   Do you have that, Mr. Inman, in paragraph 85?
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    1               MR. INMAN:    Yes.

    2               THE COURT:    See those lettered subparagraphs in

    3   numbered paragraph 85; do you see those, Mr. Jenkins?

    4               THE DEFENDANT:     Yes, Your Honor.

    5               THE COURT:    Those are lifted right out of the

    6   statute and put into this report.        And so these are the legal

    7   requirements that the Court has to take into account in

    8   fashioning a sentence.      And as I said, to the extent that I

    9   succeed in doing that, the sentence will be deemed a

  10    legally-reasonable sentence.

  11                So, for example, the first thing is the nature and

  12    circumstances of the offense, and the history and

  13    characteristics of you.       The second one is the sentence has to

  14    reflect the seriousness of the offense and so forth.            I won't

  15    read them all to you.      You've read them, but that's what I'm

  16    listening for and thinking about.

  17                We also go through a sentencing guideline

  18    determination.     The guidelines are important.       They don't have

  19    the last word on the decision, but they inform my decision.

  20    And the reason they're important is because they incorporate

  21    many of these statutory factors.

  22                So we do a correct guideline application and then we

  23    say okay, that's how the guidelines apply.          Is that reasonable

  24    in Mr. Jenkins case.      And so we go through that analytical

  25    process in fashioning a sentence.        I'll hear from everyone
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    1   before the decision's made and try to take into account the

    2   factors that are raised by you and by the lawyers, but that's

    3   how we get to that final decision with respect to a sentence.

    4               Do you understand that, sir?

    5               THE DEFENDANT:     Yes, Your Honor.

    6               THE COURT:    Is what I've told you basically what

    7   Mr. Inman has told you about the process we'll follow today?

    8               THE DEFENDANT:     Yes, Your Honor.

    9               THE COURT:    And do you have any questions you want

  10    to ask me about the process that we'll follow?

  11                THE DEFENDANT:     No.

  12                THE COURT:    Okay.   Now, when the sentencing

  13    guidelines were applied, the total offense level was 40 and

  14    the criminal history category was two.         Do you remember how we

  15    got to those numbers?

  16                THE DEFENDANT:     Yes, Your Honor.

  17                THE COURT:    In using the guideline manual and the

  18    sentencing table and so forth?

  19                THE DEFENDANT:     (Nodded head.)

  20                THE COURT:    Okay.   And then the report was

  21    circulated for all to review, and those were the conclusions

  22    that the probation officer reached.         The Government, according

  23    to the addendum, has no objections.         Is that true,

  24    Mr. Shepard?

  25                MR. SHEPARD:    It is, Your Honor.
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    1               THE COURT:    And with respect to the defendant's

    2   review, there are a few objections, two in particular, along

    3   with some additional information that came from the defendant,

    4   but in terms of objections, there were two.

    5               The first one is directed at paragraph 36.          The

    6   objection is that you, Mr. Jenkins, did not plead guilty to

    7   child molesting in Count 2.       That charge was reduced to sexual

    8   misconduct with a minor for purposes of the plea agreement.

    9               The probation officer responded.        Is that your

  10    response there, Miss Neat?

  11                PROBATION OFFICER:     Yes, it is.

  12                THE COURT:    So per the plea agreement in that cause

  13    number, you pled guilty to Count 2, which was a child

  14    molesting offense, a class C felony, and Count 5, sexual

  15    misconduct with a minor, also a C felony.          So that's from the

  16    plea agreement.     Do you have something to rebut the plea

  17    agreement?

  18                MR. INMAN:    We do, Your Honor.     As a matter of fact,

  19    Miss Neat tracked it down yesterday.         The judgment in that

  20    case was for two counts of sexual misconduct.          So Count 2

  21    actually was sexual misconduct.

  22                We weren't able -- for some reason, the plea

  23    agreement read "child molest," but the court order and the

  24    final order is "sexual misconduct."         My guess is there was an

  25    amendment during the plea negotiation -- after the signing of
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    1   the plea but maybe in open court.        But there's no question

    2   that the judgment issued is for two counts of sexual

    3   misconduct.

    4               THE COURT:    Is that true, Miss Neat?

    5               PROBATION OFFICER:     (Inaudible.)

    6               THE COURT:    You have to speak up.

    7               PROBATION OFFICER:     That is correct.      I received a

    8   judgment today, and it is two counts of sexual misconduct.

    9               THE COURT:    Okay.   When I asked you just a minute

  10    ago is this still your response, what's written here in the

  11    addendum is not your response.        Today you have new material;

  12    is that right?

  13                PROBATION OFFICER:     That's correct, Your Honor.

  14                THE COURT:    And so your view is that the position

  15    taken by the defendant is correct?

  16                PROBATION OFFICER:     That's correct.

  17                THE COURT:    But it doesn't change the guideline

  18    application?

  19                PROBATION OFFICER:     That's also correct.

  20                THE COURT:    So we'll make that change, that

  21    correction, to reflect the review of that document which came

  22    in pretty close to court time.        It's not your fault.      It's

  23    just that we need to correct it.

  24                PROBATION OFFICER:     Yes, Your Honor.

  25                THE COURT:    And objection No. 2 as it's written
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    1   here, Mr. Jenkins will argue that his instant conviction and

    2   his prior conviction do not serve to qualify him for the

    3   five-level increase as a repeat offender as laid out in

    4   paragraph 30.

    5               MR. INMAN:    Your Honor, when I filed that objection,

    6   I was still trying to clarify what the convictions were for,

    7   the sexual misconduct and what we just went through.

    8               THE COURT:    Right.

    9               MR. INMAN:    I'm satisfied that sexual misconduct

  10    qualifies as a covered sex crime, so I withdraw that

  11    objection.    I think the five levels -- it's in the plea

  12    agreement.    We don't have a valid argument against it.          I just

  13    want the Court to understand why I did that because we were

  14    still trying to clarify what the final judgment was from the

  15    first conviction.

  16                THE COURT:    Thanks for that explanation, and I'll

  17    show that that objection is withdrawn.

  18                MR. INMAN:    Thank you, Your Honor.

  19                THE COURT:    So I have handled all the objections

  20    that you wanted to interpose?

  21                MR. INMAN:    Yes, Your Honor.     We have submitted a

  22    couple of factual corrections that Miss Neat made in the

  23    revised version, and so we have nothing else as far as that's

  24    concerned.

  25                THE COURT:    Okay.    So the rest of the report
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    1   conforms to my own judgment as to the correct application of

    2   the guidelines and a complete collection of information that

    3   the Court needs to consider in imposing a sentence.           So I

    4   adopt the report, with that one clarifying ruling, as it was

    5   circulated.

    6               The clarifying ruling did not change the guideline

    7   application.     So based on the guidelines and this report,

    8   which I adopt as my own, the total offense level is 40 and the

    9   criminal history category is 2.

  10                The plea agreement -- let me just reach back to say

  11    in the record for this proceeding -- did not have specific

  12    areas of agreement between the Government and the defendant.

  13    The only reference to the sentence that shows up in the plea

  14    agreement is that if there is a guideline sentence imposed,

  15    that the defendant has agreed to waive his right to appeal the

  16    sentencing decision.

  17                So that's the only connection between the plea

  18    agreement and the guidelines.        Is that your understanding,

  19    too, Mr. Inman?

  20                MR. INMAN:    Umm --

  21                THE COURT:    All the other terms were left to the

  22    Court to decide.

  23                MR. INMAN:    We had -- we had some sentencing

  24    guideline stipulations.

  25                THE COURT:    You did, but they are not binding on me.
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    1               MR. INMAN:    No, that's correct, I'm sorry.

    2               THE COURT:    There are agreements between the two of

    3   you.

    4               MR. INMAN:    I'm sorry, yes, that is correct.

    5               THE COURT:    So the only one that's binding on me in

    6   terms of the plea agreement is if a guideline sentence is

    7   imposed, the defendant's waived his right to appeal that

    8   decision.

    9               MR. INMAN:    I'm sorry, I misunderstood.       Yes, I do

  10    agree.

  11                THE COURT:    Is that your view, too, your

  12    recollection, Mr. Shepard?

  13                MR. SHEPARD:    It is, Your Honor.

  14                THE COURT:    So the guidelines that apply, the period

  15    of incarceration you remember from my prior explanation under

  16    the statute, the period of incarceration is 15 to 30 years.

  17    The guideline range is 324 months up to 405 months.           The

  18    supervised release term, do you remember what supervised

  19    release is?

  20                THE DEFENDANT:     Yes, Your Honor.

  21                THE COURT:    Under the statute, it was five years to

  22    life, and that's what shows up as the guideline as well, five

  23    years to life.

  24                You're not eligible for probation under the

  25    guidelines or the statute.       The fine maximum set by statute is
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    1   250,000.    Under the guidelines, it's a low of 25,000 up to

    2   250,000.

    3               Restitution is to be determined.        We'll get to that.

    4   There's no figure that's been proffered to the Court.            It

    5   occurred to me, as I reviewed the victim impact statements,

    6   that there would be good reason for restitution in terms of

    7   providing financial support for counseling and for mental

    8   healthcare that resulted to the victims, but apparently no

    9   one's been forthcoming with any amounts; is that right,

  10    Mr. Shepard?

  11                MR. SHEPARD:    Your Honor, the victim is receiving

  12    counseling.    It's currently being paid for and there are

  13    provisions for ongoing payment of that out of the Crime Victim

  14    Rights Fund, which is essentially the grant where general

  15    restitution payments come through from -- into the Department

  16    of Justice.

  17                So as of yet, I clarified this with the agent this

  18    morning, there have been no out-of-pocket expenses, and at

  19    least at the foreseeable time, there are not out-of-pocket

  20    expenses born by the victim or her family.          And that's the

  21    reason no amount has been submitted to the Court.           It's

  22    currently being paid for out of the Crime Victim Rights Fund.

  23    The FBI's victim witness staff, Miss Odella (phonetic),

  24    assisted the victim and reapplied for that earlier this year

  25    and it was reapproved.      So she is still getting that paid for
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    1   by the Crime Victims Rights group.

    2               THE COURT:    Thank you, Mr. Shepard.      That's helpful.

    3               So in terms of a restitution figure as such, there's

    4   no sentencing issue for the Court to decide.          There is the

    5   special assessment, which is the fee that has to be paid to

    6   the Clerk of the Court.       That's that nonwaivable fee of a

    7   hundred dollars for each felony conviction.          So can that be

    8   paid today, Mr. Inman?

    9               MR. INMAN:    No, Your Honor.

  10                THE COURT:    So we'll make arrangements for that

  11    through the Inmate Financial Responsibility Program, which is

  12    the euphemism for prison industries, because it's nonwaivable.

  13                Those are the statutory provisions and the guideline

  14    that apply to an offense level 40 and a criminal history

  15    category 2.    Do you agree with that extrapolation, Mr. Inman?

  16                MR. INMAN:    I do.

  17                THE COURT:    And do you, Mr. Shepard?

  18                MR. SHEPARD:    Yes, Your Honor.

  19                THE COURT:    So that's the beginning point,

  20    Mr. Jenkins, for the Court's decision making as to a

  21    reasonable sentence.      And it's appropriate for you to speak

  22    and to tell me whatever it is you want me to know and think

  23    about and take into account.

  24                Once the sentence is imposed today, it's likely to

  25    be a final matter.      So don't put off till some other time
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    1   whatever it is you want me to know and think about assuming

    2   there will be another time because, as I said, this is likely

    3   to be the final resolution of the sentencing issue by the

    4   Court.

    5               After I hear from you, sir, I'll hear from Mr. Inman

    6   on your behalf, and then I'll hear from Mr. Shepard on behalf

    7   of the Government.      But you may lead off.

    8               THE DEFENDANT:     I just-- there's no excuse for what

    9   happened.    I mean, I can't stand here and make any excuse.             It

  10    was something that was stupid, and I'm terribly sorry that it

  11    happened and anybody got hurt out of it.

  12                THE COURT:    That's really worse than stupid, isn't

  13    it?

  14                THE DEFENDANT:     Yes, it is, Your Honor.

  15                THE COURT:    Because it was hugely damaging.

  16                THE DEFENDANT:     Yes.

  17                THE COURT:    I sort of wish you had listened do the

  18    Victim Impact Statements from them directly.          I know Mr. Inman

  19    summarized them but --

  20                THE DEFENDANT:     I didn't know that the mother put in

  21    an impact statement.      I wasn't clear with that.       I knew the

  22    daughter did one, but I wasn't clear that the mother did one

  23    also.

  24                THE COURT:    Well, the mother's statement basically

  25    corroborated the difficulties that her daughter has had in
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                                                                            20


    1   school, with her friends, and with her inability to focus on

    2   schoolwork.    There are certain classes that you take.          She's

    3   only 11 now, and this happened when she was nine.           There are

    4   certain classes you take when you're in junior high school and

    5   that age bracket, and about learning about bodily changes and

    6   so forth.    She can't even bring herself to go to those classes

    7   because of what you inflicted on her, and not just once but

    8   over and over many times in a way that left her completely

    9   victimized and took advantage of her vulnerability, her

  10    dependence, her youth.      She didn't know what to do.       She was

  11    completely overwhelmed it.

  12                THE DEFENDANT:     It was only one time.      It was one

  13    set of pictures.

  14                THE COURT:    There were other times when you were

  15    doing conduct like this, right?

  16                THE DEFENDANT:     No.

  17                THE COURT:    Oh, I think so.     That was part of the

  18    victim witness testimony that I heard.

  19                THE DEFENDANT:     All I did was took some pictures one

  20    day.

  21                THE COURT:    Well, you have a prior conviction, don't

  22    you, for child molest?

  23                THE DEFENDANT:     Not sexual misconduct, but --

  24                THE COURT:    That offense is what I'm talking about.

  25                THE DEFENDANT:     Oh, okay.
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                                                                            21


    1               THE COURT:    It was similar conduct, wasn't it?

    2               THE DEFENDANT:     Excuse me?

    3               THE COURT:    It was similar conduct, wasn't it?

    4               THE DEFENDANT:     Well, that included touching.

    5               THE COURT:    Right.   It was similar to sexual

    6   predatory behavior, wasn't it?

    7               THE DEFENDANT:     Yes, Your Honor.     Yes, Your Honor.

    8               THE COURT:    Yes.   So there's a pattern.      And

    9   actually, if you heard the victim impact statements yourself,

  10    you would hear how these victims said that this -- these

  11    relationships that you were involved in and the kinds of

  12    activities that you engaged in have occurred often enough and

  13    with enough seriousness that everyone who was touched by it,

  14    even the mother and her half-sister and so forth, have not

  15    been able to get over it, that they are suffering still and

  16    severely because of it.

  17                THE DEFENDANT:     Nothing ever happened --

  18                THE COURT:    So this is more than stupid behavior.

  19    This was an offense that took you way beyond anything that was

  20    either permissible in terms of your relationship with them or

  21    permissible under the law.       That's why the penalties are so

  22    severe.

  23                THE DEFENDANT:     Yes, Your Honor.

  24                THE COURT:    And the fact that you had this prior

  25    conviction, I think the people down in Seymour must be sort of
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                                                                            22


    1   glad to have you put in a place where you can't hurt anybody

    2   anymore because you were a law enforcement problem to them,

    3   too, right?    Isn't that true?

    4               THE DEFENDANT:     Not really.

    5               THE COURT:    Well, you want me to read it to you from

    6   the presentence report?       Did you read the presentence report?

    7               THE DEFENDANT:     I've only been arrested twice in my

    8   life, or three times in my life.

    9               THE COURT:    Well, there was the prior conviction.

  10                THE DEFENDANT:     Yeah, I was arrested for that and

  11    did time.    I was arrested for a check deception and I was

  12    arrested for this case.

  13                THE COURT:    Then in March of 2015, the mother of

  14    this girl came on these photographs that were taken and had to

  15    go see the Jennings County Police, right?

  16                THE DEFENDANT:     No.

  17                THE COURT:    Who?

  18                THE DEFENDANT:     Jackson County.

  19                THE COURT:    Jackson County, okay.

  20                THE DEFENDANT:     But that was the third time I had

  21    been arrested in my life.

  22                THE COURT:    And they had to involve Special Agent

  23    Prewitt of the FBI, right?       And he was present for the

  24    interviews with the victims because I heard him and he was

  25    referred to.     And it wasn't until Special Agent Prewitt
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                                                                            23


    1   started investigating that people felt free to come forward

    2   with the disclosures that they finally made.          They were deeply

    3   hurtful.    People were trying not to talk about them because --

    4   just trying to repress them because it was conduct that they

    5   didn't know how to manage in their heads.          It has to do with

    6   your self-concept.      How you think about yourself.       And when

    7   you've been violated in those ways, sometimes there's no

    8   recovery.    But even when there's a recovery, it's hard work.

    9   It takes a lot of psychological effort to get past the

  10    offense.

  11                So this, you didn't just trip up here.         You didn't

  12    just do something silly and stupid.

  13                THE DEFENDANT:     Yes, Your Honor.

  14                THE COURT:    You were perpetuating serious offenses

  15    and affronts to very vulnerable victims.         So that's a signal

  16    to me that there's something that is haywire with respect to

  17    your view of your own responsibilities and your own

  18    proclivities, your own needs physically.         You think that's

  19    true?    Do you think there's something that's haywire, that's

  20    amiss?

  21                THE DEFENDANT:     It could be.    I was --

  22                THE COURT:    This isn't normal behavior, is it?

  23                THE DEFENDANT:     No, it isn't, Your Honor.

  24                THE COURT:    So whatever it was that compelled you to

  25    do it is not normal.
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                                                                            24


    1               THE DEFENDANT:     No.

    2               THE COURT:    So maybe I shouldn't use the word like

    3   "haywire," but there's something that allowed you to do this

    4   despite the awfulness of it.         You still were driven to do it

    5   by something, some need, some desire and so forth, right?

    6               THE DEFENDANT:     Yes, Your Honor.     There was a

    7   15-year span, but yes, Your Honor.

    8               THE COURT:    So that -- 15-year span, what does that

    9   say, that this has been a long-term problem?

  10                THE DEFENDANT:     No, it just means, I never --

  11                THE COURT:    Events two times, 15 years apart, you

  12    got caught?

  13                THE DEFENDANT:     Yes, Your Honor.

  14                THE COURT:    So part of the presentence report

  15    formulation of conditions of supervised release calls for

  16    ongoing mental health treatment and restrictions of you so

  17    that you can't be around other people who would be victims.

  18                So one of the reasons I'm bringing this up and

  19    pushing sort of hard about this is because it seems to me that

  20    you need this kind of mental health treatment and care while

  21    you're incarcerated, especially since it's such a long period

  22    of time.    So I bring it up for that reason.        Do you think

  23    that's true?     Do you need that?

  24                THE DEFENDANT:     Yes, Your Honor.

  25                THE COURT:    I mean, are you just saying yes because
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                                                                            25


    1   I asked you or do you really think that?         I mean, when you

    2   said it you short of shrugged like --

    3               THE DEFENDANT:     Yeah, I feel that counseling would

    4   probably help me a lot.

    5               THE COURT:    Well, this isn't behavior that you can

    6   explain either.

    7               THE DEFENDANT:     No, I can't.

    8               THE COURT:    I mean because when you say it was

    9   stupid, that's not an explanation.        So I don't think you can

  10    explain it either and it's abnormal, besides being illegal.

  11    That's usually a sign that there's a mental health component.

  12    So I can make that recommendation to the Bureau of Prisons and

  13    will make it if you think it's going to take you in a helpful

  14    direction, but I'm not going to do it if you're just going to

  15    waive it off or think it's silly or unnecessary or whatever.

  16    So what's your view about that?

  17                THE DEFENDANT:     I believe it would help me because

  18    it was unacceptable behavior and I cannot explain why it

  19    happened.    It should have never happened.        It should never

  20    happen to any child.      And apparently there's something not

  21    right that I need to -- need help to figure out what's wrong

  22    so I can correct it or have it corrected.

  23                THE COURT:    Right.   That's a much more plausible

  24    statement from you than the one you started out with.

  25                THE DEFENDANT:     Yes.
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    1               THE COURT:    That there is something wrong.        This is

    2   behavior that's beyond the pale.        One of the things that you

    3   would have picked up on as I did, I think, you would pick up

    4   on it as well if you had watched the victim impact statements,

    5   is how fragile this young girl is, who was nine when she was

    6   victimized by you, and is 11 and still suffering.

    7               So it was heartrending, and her mother says that

    8   before all of this happened, she was a happy-go-lucky,

    9   friendly, vivacious, high energy sort of kid, likeable,

  10    et cetera.    Now she's just brought down by the consequences of

  11    this.   And it's too bad that you didn't let yourself -- I

  12    mean, I guess I understand why you didn't want to see it.            It

  13    just increases the agony, but if you had seen it with your own

  14    eyes, you couldn't help but be struck by the impact of this.

  15    And that's another way to underscore the seriousness of the

  16    conduct and the huge need that apparently exists for you to

  17    figure out what is causing this, where is this coming from.

  18                Now your half-sister, I heard Mr. Inman say, you

  19    don't agree with her statements.        She's sort of a mental

  20    wreck, too.    And she is suffering from anxiety attacks and

  21    depression, has extended accounts really of times when you

  22    took advantage of her when she was a child.          And that your

  23    mother always sided with you, she said, and so she was left

  24    with this feeling that she should repress it.

  25                Whether or not you could tell that story the same
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                                                                            27


    1   way or whether or not you think she's got her own version of

    2   it, it's unmistakable that she's a wreck.          She's a mental

    3   wreck, and she attributes it in large part to you.

    4               So whatever happened, you can say she exaggerated or

    5   you can say that she's worried about it so long she's made up

    6   some of it, but I don't think she's brought herself to the

    7   state she's in at age 41 without there having been some

    8   provocation.

    9               THE DEFENDANT:     We didn't even live in the same

  10    house.

  11                THE COURT:    I know, she said that.      She said that

  12    you stayed often at your grandmother's.

  13                THE DEFENDANT:     I lived at my grandmother's.

  14                THE COURT:    And she stayed there, too, she told me.

  15                THE DEFENDANT:     No.

  16                THE COURT:    She said she got sent there often.        She

  17    didn't live there but she got sent there often because your

  18    mother was working, and the grandmother was the babysitter.

  19                THE DEFENDANT:     And when she was there, I was

  20    usually gone.

  21                THE COURT:    Well, not all the time apparently.

  22                THE DEFENDANT:     There's a ten years difference

  23    between me and her.

  24                THE COURT:    That's what she said.

  25                THE DEFENDANT:     And usually when she was there, I
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                                                                            28


    1   was out with my friends and gone.

    2               THE COURT:    Well, the "usually" part may be true but

    3   not always.

    4               THE DEFENDANT:     But nothing ever happened.

    5               THE COURT:    She tells the story of the ways in which

    6   you took advantage of her and victimized her given the

    7   ten-year age difference of your being 15 and she was five.               So

    8   I can't sort all that out.

    9               You didn't look at the victim impact statement.          I'm

  10    just telling you what I saw, and that is she's a mess.            She's

  11    a mental and emotional mess.       And if it's due in any way to

  12    what you did, then you bear some responsibility for that.

  13                THE DEFENDANT:     I'm not responsible for what --

  14    because I have never done nothing with her.

  15                THE COURT:    Okay.   Well, that's not how she tells it

  16    or how she remembers it.

  17                THE DEFENDANT:     Well, I mean, it's -- she's always

  18    been high strung and Mom's always been there for her, which

  19    didn't bother me.      I mean, Mom raised her.      I lived with my

  20    grandparents.     My older half-brother lived with my

  21    grandparents, and my oldest half-brother lived with his aunt.

  22    So she was the only one our mother raised.

  23                As far as -- I read the impact statement that she

  24    wrote, or the statement she wrote, as far as me asking her for

  25    pictures and stuff, that never happened.         If I ever wanted to
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    1   see anything like that, all I had to do was go to a bar on the

    2   weekend because she was walking around with her shirt off half

    3   the time, and I would turn around and leave.          That's my

    4   sister.    I don't want nothing to do with her.        Never did.

    5               Why she's bringing up stuff that never happened or

    6   telling stories, I have no idea.        She's always resented me but

    7   that's -- I've always made my own way and she's always lived

    8   off our mother, which is now in a nursing home, and my sister

    9   took over her house, which I didn't have a problem with.

  10                So I don't know why she's trying to ruin me even

  11    more than I am right now but I have never done nothing.

  12                THE COURT:    Happily I don't have to resolve that

  13    case.   I'm resolving the one where the victim was the

  14    nine-year-old who's now 11, who's also a mess emotionally.

  15    And her mother who feels huge guilt for leaving her daughter

  16    in your charge, and therefore vulnerable to the experiences

  17    that underlie this prosecution.

  18                So I know families get themselves all tied up in

  19    knots and there are a lot of themes that were running through

  20    your home when you were growing up with half-brothers and

  21    half-sisters and people taking care of you like your

  22    grandmother so that your parents could work and so forth.            But

  23    just judging from the impact statements, it takes your breath

  24    away.

  25                Why do you think that the state prosecution when you
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    1   were in prison for similar conduct for about three years,

    2   something like that -- wasn't it a three year sentence?

    3               THE DEFENDANT:     Three years.    I done 18 months.

    4               THE COURT:    Why do you think that didn't have an

    5   attention-getting affect?       Why didn't that convince you that

    6   you can't go down this road again?

    7               THE DEFENDANT:     I thought it had because, I mean, I

    8   was out for 11 years, and then I don't know what happened.                I

    9   went through the two years probation, supervised.           I went

  10    through the ten years on the registry with no problems

  11    whatsoever.    And all of a sudden just -- I don't know what

  12    happened.

  13                THE COURT:    Is that another way of saying that it's

  14    a deep-seated enough problem that you need some help trying to

  15    sort it out?

  16                THE DEFENDANT:     Yes, Your Honor.

  17                THE COURT:    That's what I thought, too, but it's

  18    better if you see it.

  19                Mr. Inman, what would you say on Mr. Jenkins'

  20    behalf?

  21                MR. INMAN:    Well, you know, it strikes me, Judge,

  22    90 percent probably of defendants in this situation have been

  23    abused themselves.      It's learned behavior.      We don't know that

  24    from Robert's past.      We've not -- he's not --

  25                THE COURT:    There's nothing in the report.
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    1               MR. INMAN:    We don't know.     I don't know.    He has

    2   not said anything and he's told them.         Like you said, from

    3   people coming in and out of the house and the situation, you

    4   can infer perhaps, but we don't have any positive -- no

    5   memories of that, no allegations of that when he was young.

    6   But it's entirely possible, and that's why these types of

    7   things reveal themselves at times, that you think you have

    8   control, and then all of a sudden you put yourself in the same

    9   position where it's going to happen again.          That's kind of

  10    what happened here.

  11                THE COURT:    So that's another reason for mental

  12    health treatment --

  13                MR. INMAN:    Yes.

  14                THE COURT:    -- because it might be in that setting

  15    he can come to a deeper understanding.

  16                MR. INMAN:    Absolutely, Judge, but that kind of goes

  17    into what my point is.      He's 52 years old, and you can fashion

  18    a combination of executed time and then supervised release for

  19    life.   And the question is when do we break from being in

  20    prison to -- when do you feel comfortable breaking from having

  21    him in prison to letting him out and being on supervised

  22    release and getting further counseling and having a chance not

  23    to die in prison.      I mean, that's what this is about.

  24                You know, the positive thing is, as he said, he did

  25    respond to supervision.       He did his time.     He was out on
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                                                                            32


    1   probation for two years.       I'm assuming he went through some

    2   sort of sex offender probation at that time.          And counseling,

    3   none at all?

    4               THE DEFENDANT:     None.   It was not ordered.

    5               MR. INMAN:    That should have happened --

    6               THE DEFENDANT:     It didn't.

    7               MR. INMAN:    And it didn't.     But you were on the

    8   registry.

    9               THE DEFENDANT:     The only thing I did before I got

  10    out of Indiana DOC was I done a parenting class, which that

  11    was all they had me do.       Nothing else.

  12                MR. INMAN:    So, I mean that doesn't justify any of

  13    this, Judge, but the fact is that when he was supervised and,

  14    you know, complying with the registry is not an easy thing.

  15    Your hands are tied as to where you can live, where you can

  16    go.   You have to stay a thousand feet away from a school and

  17    church, and it's difficult.       And for him to be able to comply

  18    with that, I think, at least says something about his ability

  19    to respond to counseling, supervision and treatment.            He's

  20    always worked.     He's been able to support himself and do some

  21    positive things.

  22                So, you know, was it the Thompson case that came

  23    down two or three years ago, which has had tons of

  24    resentencings as you're very familiar with?          That kind of asks

  25    the trial court to balance in terms of probation with an
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                                                                            33


    1   executed sentence, and I think this is an appropriate case to

    2   do it.

    3               One thing I would note about how the guidelines work

    4   here, Judge, is that he gets -- for the same conviction, he

    5   gets an additional criminal offense level, criminal history

    6   level, and the five levels added to the offense level.            So he

    7   kind of gets hit both ways with the way the guidelines work

    8   there.

    9               If you went back up one level, or if you went back

  10    to criminal history 1, if you can picture the graph, you both

  11    hit -- that guideline's 292 months to 325.          Does that -- you

  12    know, I'm just saying instead of -- there's a little bit of

  13    duplicity here in the way that the guidelines operate.            For

  14    him to be punished both ways or to be heightened exposure both

  15    ways, I would just ask you to just consider that.

  16                I mean, as you always do, Judge, you've asked the

  17    right questions.     You've got him to talk about himself.         You

  18    know what this case is about.        So as far as 3553 factors, I

  19    think protection is one of the factors, to protect society.

  20    If he is on supervised release and he's 68 or 70 years old, I

  21    think society's going to be protected, all right?

  22                I think him being in prison for 15 or 16 or 17

  23    actual years is enough deterrence with knowing that he's going

  24    to have to comply with the onerous conditions of supervised

  25    release once he gets out.
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    1               As far as other defendants are concerned, Your

    2   Honor, we've seen sentences all across the board in this

    3   district about these types of cases with repeat offenders or

    4   multiple offenders.      I can't -- I always think of Jared Fogle

    5   getting 14 years, and he had God knows how many victims.            He

    6   wasn't necessarily a repeat offender, but he was -- that's

    7   only because he hadn't gotten caught for quite some time.            I

    8   always look back at that case.

    9               But anyway, those are just the basic points I want

  10    to make, Your Honor.      I think a sentence -- if you gave him

  11    the 240-month sentence, that's 20 years, that means he would

  12    do about 14 more years, probably about 15 more years.            He'd be

  13    67 years old, and then lifetime supervised release.           I think

  14    that satisfies both concerns that he have enough of a sentence

  15    to punish him for what he's done, and that we protect society

  16    by monitoring him until the end of his days, and he gets the

  17    help that he needs.      That's what I would ask the court to

  18    consider.    Thank you, Judge.

  19                THE COURT:    Yes, thank you, Mr. Inman.       Thank you

  20    for representing Mr. Jenkins, too.

  21                Mr. Jenkins, you're fortunate to get a lawyer of

  22    Mr. Inman's ability and experience to represent you.            He's one

  23    of our best.

  24                THE DEFENDANT:     Yes, Your Honor.

  25                THE COURT:    Mr. Shepard, what's the Government's
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                              PREWITT - DIRECT/SHEPARD                      35


    1   view?

    2               MR. SHEPARD:    Your Honor, before I argue, the

    3   Government would actually like to call Special Agent Prewitt

    4   and elicit testimony that specifically refutes two statements

    5   that Mr. Jenkins stated in his allocution.

    6               THE COURT:    Mr. Prewitt, would you come to the well

    7   of the court, please.      You don't need to take the stand, just

    8   stand here, we'll hear you.       And would you be sworn, please.

    9                TODD PREWITT, PLAINTIFF'S WITNESS, SWORN

  10                              DIRECT EXAMINATION

  11    BY MR. SHEPARD:

  12    Q.   Agent Prewitt, can you please just briefly describe your

  13    relationship in this -- or your familiarity with this case?

  14    A.   I was the case agent for the FBI and worked on it once I

  15    was contacted by the Seymour Police Department through its

  16    conclusion.

  17    Q.   And is it fair to state that this case got very close to

  18    what appeared to be a trial or nothing posture?

  19    A.   Yes.

  20    Q.   And we were on the verge -- we, the Government, were on

  21    the verge of going in front of the grand jury to request a

  22    superseding indictment literally the day that Mr. Jenkins

  23    signed his plea agreement; is that correct?

  24    A.   That is correct.

  25    Q.   And the subject of the superseding indictment was going to
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                              PREWITT - DIRECT/SHEPARD                      36


    1   be one additional image of the first series that was found by

    2   Detective Barnes of the Indiana State Police, as well as a

    3   second series of images taken on a second day, February 22nd;

    4   is that correct?

    5   A.   Correct.

    6   Q.   Can you describe that second series of images for the

    7   Court?

    8   A.   Basically two to three images that were -- appeared to be

    9   the victim was in a bathtub, nude.

  10                THE COURT:    Same victim?

  11    A.   Same victim.    The nine-year-old, now 11.       Completely nude

  12    in the bathtub.     And there was a shower curtain and there

  13    was -- it basically appeared as if a camera had been held over

  14    the top of the bathtub and taken and pointed specifically

  15    downward towards where the victim was.

  16    Q.   And was Detective Barnes able to recover a time stamp on

  17    one of those images?

  18    A.   Yes.

  19    Q.   Was that February 22nd?

  20    A.   Yes, eight days after the first set of series, images,

  21    that were recovered.

  22    Q.   Which was February 14th?

  23    A.   Correct.

  24    Q.   And was the victim asked if she -- was she shown that

  25    series and asked who was the taker of the picture of that
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                              PREWITT - DIRECT/SHEPARD                      37


    1   series of images?

    2   A.   Yes.

    3   Q.   Did she reply it was the defendant?

    4   A.   Yes.

    5   Q.   There was another statement that Mr. Jenkins stated as it

    6   related to his step-sister or half-sister, that he never

    7   wanted to have anything to do with her; do you recall him

    8   saying that?

    9   A.   Yes.

  10    Q.   Through the course of this investigation, did you see

  11    multiple attempts by Mr. Jenkins to contact his half-sister?

  12    A.   Yes, she stated that he had placed calls while

  13    incarcerated to speak with her, that she did not answer, and

  14    he also wrote, I believe, multiple letters and even included a

  15    self-addressed stamped envelope to write her back, which she

  16    declined.

  17    Q.   Was the subject of these calls and letters, he was seeking

  18    an alibi, essentially a defense from her; is that correct?

  19    A.   It was my understanding that he felt that his half-sister

  20    would have been watching the victim at that time, and stated

  21    that if that was the case, then there was no way he could have

  22    committed the offense.

  23    Q.   And is that why, at my direction, you went to interview

  24    the half-sister?

  25    A.   Yes.
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                                 PREWITT - CROSS/INMAN                      38


    1   Q.   Were you going there at all to ask about prior instances

    2   of molest?

    3   A.   No, that -- that only came up at her -- you know,

    4   basically bringing it up on her own voluntary acknowledgment.

    5   Q.   You only went there to talk about whether or not she was

    6   watching the child victim on the date in question?

    7   A.   Yes, I wanted to see if that was accurate.

    8   Q.   And she stated that she was not; is that correct?

    9   A.   Right, that she could not recall, that the calendar that

  10    they would have had that would have denoted that was thrown

  11    away.   So she did not believe she would have watched that day,

  12    but she wasn't a hundred percent because of the calendar.

  13    Q.   And spontaneously, she made this disclosure to you?

  14    A.   About the other involvement with the defendant, yes.

  15                MR. SHEPARD:    Thank you, Your Honor.       No further

  16    questions.

  17                THE COURT:    Cross-examine, Mr. Inman?

  18                MR. INMAN:    Thank you, Your Honor.

  19                               CROSS EXAMINATION

  20    BY MR. INMAN:

  21    Q.   It wasn't inconceivable that she would have been watching

  22    the victim at some point?

  23    A.   I think it was inconceivable that she would have been

  24    watching him --

  25                THE COURT:    Look at me when you testify, please, so
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                                 PREWITT - CROSS/INMAN                      39


    1   that the court reporter can hear.

    2   BY MR. INMAN:

    3   Q.   She watched the victim at times?

    4   A.   At times, correct.

    5   Q.   It wasn't just completely out of the blue that she might

    6   have been watching?

    7   A.   No, that's correct.

    8   Q.   That's what I meant.

    9   A.   Yes, yes.

  10                MR. INMAN:    Okay, that's all I have, Your Honor.

  11                THE COURT:    Redirect?

  12                MR. SHEPARD:    None, Your Honor.

  13                THE COURT:    Thank you, Special Agent Prewitt.

  14                And now I'll hear, Mr. Shepard, your statement on

  15    behalf of the Government.

  16                MR. SHEPARD:    Thank you, Your Honor.       I took Special

  17    Agent Prewitt through that series of questions for two

  18    reasons.    One, Mr. Jenkins specifically stated in his

  19    statement of allocution to you that it was only one instance,

  20    one series of pictures, with that victim.          The evidence simply

  21    does not bear that out.       There were two.

  22                Those images were provided to the defense.          It was

  23    provided with the specific statement that we are planning to

  24    go to the grand jury to seek a superseding indictment, which

  25    was going to be a ten count indictment.         Six counts of
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                                                                            40


    1   production under 2151(a), three counts of attempt under

    2   2151(a), and one count of possession of child pornography.               So

    3   he had that information and yet he stated what he stated to

    4   you today.

    5               As it relates to his half-sister, he stated he

    6   didn't want to have anything to do with her.          Well, he wanted

    7   to have things to do with her when he thought that she could

    8   provide him with an alibi for the crime, but once he received

    9   the 302, that not only was she not going to provide an alibi,

  10    but she spontaneously disclosed acts of molest perpetrated

  11    upon her, that's when that happens.         I felt that statement

  12    was, while maybe true at this point, was at least insincere in

  13    the way in which he got to the place of not wanting to have

  14    anything to do with his sister.

  15                I also thought that it lends a little bit of

  16    credibility to the victim impact statement of the half-sister.

  17    She had nothing to gain, no reason whatsoever to make that

  18    disclosure to the FBI.      We were simply coming there to ask if

  19    she had a record as to whether or not she was taking care of

  20    Child Victim 1 on February 14th, 2015.

  21                Through subsequent interviews of the half-sister, we

  22    learned that she was in therapy and she had gotten to the

  23    stage of therapy of confrontation, the stage where the

  24    therapist encourages the victim to confront their accuser, to

  25    take away, or excuse me, their aggressor, to take away the
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                                                                             41


    1   power that the aggressor has over them, and that this had

    2   obviously been bothering her for some time.

    3               She wasn't looking to get out of any charges.          She

    4   wasn't looking to receive anything.         This was a spontaneous

    5   declaration that we otherwise had no knowledge of.           I think

    6   that adds a lot of credibility to what she says.

    7               Looking at the 3553(a) factors specifically, the

    8   first thing we talk about is the nature and circumstances of

    9   the offense.     This is an offense against the child.        This is

  10    an offense that ripped her innocence, her dignity, and as you

  11    have seen in the victim impact statements, quite frankly her

  12    ability to function, away from her.         Through my own

  13    interactions with the victim, she loves animals.           She's a

  14    happy kid right until you start talking about what happened,

  15    and then the switch flips immediately.

  16                She doesn't want to look.       She feels instantly

  17    uncomfortable with almost any man in the room.           She shuts down

  18    into a tearing mess, very similar to what was seen on the

  19    video, which was Exhibit A.

  20                And that's after multiple instances of therapy.

  21    These are the progress notes with her therapist.           Even in a

  22    one-on-one situation, she can't even talk about, or at least

  23    she couldn't, the specifics of what happened.          But I think the

  24    implications are there by what we do know.

  25                I think it's easy to infer that it was more than
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                                                                             42


    1   just taking of the pictures.       When we talk about what she

    2   really gets broken up about at school, she can't go to classes

    3   where they do good touch/bad touch.         She can't go to health

    4   classes where they're talking about bodily development.            Those

    5   are the triggers.

    6               The inference is deafening of why it's those

    7   specifics.    It's not just because he had her get undressed and

    8   take pictures.     His prior instances also show that that is

    9   most likely not what happened.

  10                The child's own statements about the impact on her,

  11    and again we're talking about an 11-year-old girl and how

  12    she's able to talk about it through the tears.           She can't

  13    sleep.    She can't trust.     She scratches herself until she

  14    bleeds.

  15                Her mother corroborates it.       She falls asleep in

  16    school.    She can't concentrate.      And that dovetails into

  17    factor No. 2, the history of the defendant, and specifically

  18    the victim impact statement of his first -- his prior

  19    stepdaughter, which was Exhibit No. 4.         And quite frankly,

  20    this is one of the most powerful impact statements I've ever

  21    read.

  22                A lot of what the prior stepdaughter said is exactly

  23    what's happening to Child Victim 1 right now.          She talked

  24    about how she couldn't sleep, how her grades dropped.            She

  25    went to drugs.     We haven't gotten to that point thankfully.
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                                                                            43


    1               But what we have here in Exhibit D are the

    2   statements of a now 33-year-old woman who's able to more

    3   eloquently talk about what happened to her, and it details

    4   seven years of molests.       Started when she was five.      Went on

    5   until she was 12.      Included instances of being blind-folded

    6   and made to touch his penis.       Instances of oral sex.       Made her

    7   witness him raping her brother who was two years older than

    8   her.   Threats to keep both her and her brother quiet.           The

    9   rage that she felt.      How she feels any time she's undressed

  10    like she's being watched.

  11                She talks about it a little bit at the end, what was

  12    stated to Special Agent Prewitt, how hearing that it happened

  13    again brought all that back up.        That's very similar to what

  14    his half-sister in Exhibit C details.         What happened.     The

  15    commonality is striking.

  16                So that's four victims, four separate victims, which

  17    takes us really to the only 3553(a) factor that this Court

  18    should focus on, and that's to protect the public from future

  19    offenses by this defendant.

  20                The Government has already given him a benefit in

  21    that it allowed him to plead guilty to one count, which set as

  22    a statutory maximum, a penalty of 30 years.          Quite frankly, he

  23    doesn't deserve any more benefit than that.

  24                His half-sister said it best when she said "If he's

  25    out, he'll reoffend.      He just can't help himself."
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                                                                            44


    1               Mr. Jenkins says he can't explain why he does it. I

    2   can explain it.     He has a sexual interest in children.         And

    3   what he does is absolutely deplorable.         Thirty years, he still

    4   has a chance to get out, but if he does, he'll be almost 80.

    5   His ability to do this to another child would be significantly

    6   limited.

    7               And based upon the evidence, I don't think there's

    8   any other sentence that would be reasonable.          He has

    9   demonstrated a long-spanning conduct beginning at 15 to 51

  10    that includes four different victims.         He can't even admit to

  11    the full extent of his conduct to this Court today.            There's

  12    no reason not to give him the statutory maximum penalty, and

  13    that's what the Government is asking you to impose, Your

  14    Honor.    Thank you.

  15                THE COURT:    Is Exhibit D, which is the written

  16    victim impact statement, the statement of the previous

  17    stepdaughter?

  18                MR. SHEPARD:    It is, Your Honor.

  19                THE COURT:    And do you know when that would have

  20    been -- when that would have occurred, the acts that are

  21    alleged here would have occurred?

  22                MR. SHEPARD:    She was 12 years old in 1999.        So if

  23    we go back seven years, it would have began in 1992, and

  24    according to her statement, continued uninterrupted from 1992

  25    to 1999 when her brother -- it was her brother who actually
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    1   came forward to the authorities, and then the investigation

    2   uncovered acts also occurred as to her, which is why there

    3   are -- it was originally a five-count charging information but

    4   he pled to two counts, one specifically conduct to --

    5               THE COURT:    Was this the victim impact statement

    6   with respect to the state charge?

    7               MR. SHEPARD:    This is one that she gave to us when

    8   we contacted her.

    9               THE COURT:    It doesn't relate to the previous state

  10    conviction?

  11                MR. SHEPARD:    The conduct of the state conviction is

  12    what happened at the very end.        If you'll look about, oh,

  13    halfway through when she's talking about -- okay, he

  14    started --

  15                THE COURT:    Let me ask the question this way.        Is

  16    the victim in the fourth statement, Exhibit D, the victim in

  17    the state charge?

  18                MR. SHEPARD:    She is.

  19                THE COURT:    Okay.   That's what I was trying to

  20    figure out.

  21                MR. SHEPARD:    Sorry, yes.

  22                THE COURT:    Okay.

  23                MR. SHEPARD:    One of the acts that she described in

  24    here was the subject of the charge in the state case.            And,

  25    sorry, actually there's one other point I wanted to hit as it
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                                                                            46


    1   relates specifically to the argument that 4B1.5 is double

    2   counting.

    3               4B1.5 doesn't punish victims.       It punishes conduct.

    4   The guideline, by its terms, says it applies to multiple acts

    5   whether or not those acts are charged.         So it is not double

    6   counting the conviction.

    7               What it is doing, it is counting any other conduct

    8   that is an offense against the child, and there's multiple --

    9   a child, and there are multiples.        There's seven years' worth.

  10                THE COURT:    So this is conduct other than shows up

  11    in the history?

  12                MR. SHEPARD:    That's correct, Your Honor.

  13                THE COURT:    Okay, I understand.

  14                MR. SHEPARD:    The criminal history was only the one

  15    instance, which occurred when the brother disclosed it.            That

  16    was the subject of those two charges.         There's seven full

  17    years that happened before that are not included in that state

  18    charge.

  19                THE COURT:    Okay.   And the Government proffers that

  20    that factor reflects the non-charged, non-convicted behavior

  21    that was serial in nature?

  22                MR. SHEPARD:    Correct, Your Honor.

  23                THE COURT:    Okay, I understand.

  24                Come back to the podium, please.

  25                I take it that you don't deny or dispute the victim
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                                                                            47


    1   statement in Exhibit D, which underlies the state conviction;

    2   is that true?

    3                       (Off-the-record discussion.)

    4               THE DEFENDANT:     I refute some of it that's in there

    5   because not all that happened.        If it -- you know, it was

    6   never brought up in the original case.         I was never --

    7               THE COURT:    Well, Mr. Shepard has said that the

    8   conduct that is explained in Exhibit D culminated in the state

    9   prosecution.     So not everything that is referenced here were

  10    you prosecuted for, but this pattern of conduct culminated in

  11    the state charges and your conviction.         Did you plead to those

  12    charges?

  13                THE DEFENDANT:     Yes.

  14                THE COURT:    So to the extent that this conduct

  15    underlies those charges, you've admitted it previously in

  16    court, right?

  17                THE DEFENDANT:     Yes, Your Honor.

  18                THE COURT:    So to that extent, there may be some

  19    equivocations here, but by and large, you accept what's

  20    written here as accurate?

  21                THE DEFENDANT:     All that's written there is not

  22    accurate.

  23                THE COURT:    The conduct that underlay the charges in

  24    state court, was that accurate?

  25                THE DEFENDANT:     What was laid out in court, yes.
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                                                                            48


    1               THE COURT:    Yeah.

    2               THE DEFENDANT:     But that's not -- all that that's on

    3   that paper was not laid out in the --

    4               THE COURT:    But it embodies the same conduct, it

    5   embodies the same victims.        It's the pattern of conduct

    6   whether you would have some variations on these specific

    7   facts.

    8               THE DEFENDANT:     Yes, Your Honor.

    9               THE COURT:    This is the synopsis of the conduct that

  10    culminated in the state prosecution of those two charges,

  11    right?

  12                THE DEFENDANT:     Yes, Your Honor.

  13                THE COURT:    And so to that extent, you accept what's

  14    written here as true --

  15                THE DEFENDANT:     Yes, Your Honor.

  16                THE COURT:    -- to the extent that it's incorporated

  17    in those charges?

  18                THE DEFENDANT:     Yes, Your Honor.

  19                THE COURT:    All right.    The presentence report says

  20    that you, and I think your first wife, had three children, is

  21    that right, of your own birthing?

  22                THE DEFENDANT:     Yes -- excuse me?

  23                THE COURT:    They were biological children?

  24                THE DEFENDANT:     Yes, all three of them.      Three boys.

  25                THE COURT:    And then because of the divorce, they
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                                                                            49


    1   went with their mother?

    2               THE DEFENDANT:     Yes.   When we got divorced, she got

    3   custody, and then she moved out of the area, and I didn't know

    4   where she went to, and I didn't see the boys for three or four

    5   years or more.

    6               THE COURT:    And then those three boys were adopted

    7   by another family?

    8               THE DEFENDANT:     By the foster parents.

    9               THE COURT:    You relinquished your parental rights,

  10    right?

  11                THE DEFENDANT:     Yes.   Yes, Your Honor.

  12                THE COURT:    So all the other children that were in

  13    and out of your life in terms of the relationships between you

  14    and those children, they were all stepchildren; is that right?

  15                THE DEFENDANT:     Except for the youngest one, which

  16    is my son, Marshal, which was by --

  17                THE COURT:    He's in his 20s now.

  18                THE DEFENDANT:     Yes, he's in his 20s now.      He lived

  19    with me after I got out of prison.        His mom moved to Florida

  20    and he moved back to Indiana and lived with me until he

  21    graduated high school.

  22                THE COURT:    So were you an active parent of any

  23    children other than stepchildren when they were nine years

  24    old?   Did the boys reach the age of nine?

  25                THE DEFENDANT:     No, just my youngest son, Marshal.
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    1   I've been in his life his whole life.

    2               THE COURT:    Okay.   So do you have a frame of

    3   reference for nine year olds?         Can you remember what

    4   nine-year-old kids are like?

    5               THE DEFENDANT:     Just kids.

    6               THE COURT:    Yeah.   Well, they're vulnerable, aren't

    7   they?   They're naive and trusting.

    8               THE DEFENDANT:     Yeah.

    9               THE COURT:    And they're sort of happy go lucky.

  10    They count on other people to take care of them.           They are too

  11    young to figure out all their needs.         They can't meet them

  12    even if they can figure them out.        So it's sort of a time when

  13    kids are just kids, and they require a lot of protection at

  14    that age.    Do you have a mind, a recall, a mindset about that?

  15    Do you remember kids who were under your care at that age --

  16                THE DEFENDANT:     Yes.

  17                THE COURT:    -- in terms of those qualities?

  18                THE DEFENDANT:     Yes.

  19                THE COURT:    So when you think about how children are

  20    at that age and how undeveloped they are, I mean, they are

  21    actually, it's a pretty delightful stage because they are sort

  22    of coming into who they are, and they're funny, and they are

  23    high energy, and they have friends, and they like to do things

  24    with their friends, and they're trying to figure out about

  25    school and what to -- whether they like their teachers and how
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    1   good a students they are.       So they are sort of coming into

    2   life at that stage.

    3               So I mention it because, since you've had this

    4   experience, and since you say that you recall it very well,

    5   you know how life altering it would be to have those levels of

    6   trust breached, and to discover that the people who were

    7   supposed to be in their lives to protect them and to help

    8   them, and help them figure out about life and relationships,

    9   turn out to be the people they fear the most, and the people

  10    they have good reason to fear because they've hurt them

  11    deeply.

  12                So that's another way of saying a factor that the

  13    guidelines allow a court to take into account with respect to

  14    vulnerable victims.      Now, it's not a separate guideline factor

  15    when it's child pornography and the kinds of crimes that have

  16    been perpetrated here that victimize the children.           Yet, that

  17    is a factor that is used as an enhancement for other offenses

  18    when there's a vulnerable victim.

  19                So that factor would apply to an elderly person

  20    who's got dementia, let's say, or is physically impaired in

  21    some way, if not mentally.

  22                At the heart of it is this horrific harm that it has

  23    caused and the extent to which it ruptures, just tears at the

  24    fabric of society, because we know that we have to protect the

  25    young and the old in the most solicitous ways as a society.
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    1   They are our most vulnerable.

    2               So when an offense comes along like this that really

    3   runs contrary to those deep-seated societal concerns and

    4   interests, it results in guidelines and statutes that are just

    5   tough.    It's a long time.

    6               So in thinking about the nature and circumstances of

    7   this offense and the surrounding conduct and the fact that you

    8   have a prior criminal history for similar conduct, and the

    9   fact that for some reason or another you've not been able to

  10    stop this conduct, and that it overtakes you at various times

  11    in ways you can't even explain or understand, there is a

  12    decided need, a demonstrated need to protect the public and

  13    other children especially.

  14                So in light of that, a guideline sentence does seem

  15    to me to be called for, but I don't think we need to peg this

  16    at the high end of the guidelines because, first of all,

  17    you've reached not the ripe age of 52 but a substantial age of

  18    52.   So whatever sentence is imposed is going to be -- it's

  19    going to take you into ripe old age.         And that's one of the

  20    points, to punish you, because this behavior is so worthy of

  21    punishment.

  22                As you know, we've talked about this, there's no way

  23    we can correct the harm that you caused.         We can only hope

  24    that somehow the children that you victimized get enough

  25    therapeutic help to live lives that are meaningful and
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                                                                            53


    1   productive and somehow make their peace with this.

    2               Frankly, society doesn't care as much if you make

    3   your peace with it.      And I am going to recommend that you have

    4   mental health counseling because I think not to do that would

    5   be cruel because it would leave you with an impaired ability

    6   to accept the full scope of your conduct, and that would have

    7   the capacity to leave you overwhelmed by shame.

    8               So that's not appropriate for a court of justice to

    9   leave you just to wallow in the aftermath of this kind of

  10    conduct without some mental health assistance.           So I am going

  11    to recommend that.      The other conditions of supervised release

  12    were laid out in the report.       There were no objections.       Many

  13    of them have to do with the kinds of limitations on you in the

  14    future after you get out of prison, and the kinds of

  15    responsibilities that you will have for ongoing sexual -- sex

  16    offense-based restrictions and counseling and so forth.

  17                So all of those, there have been no objections that

  18    were laid out and explained, I'm going to impose, but in terms

  19    of your period of incarceration, I'm going to recommend that

  20    you get -- you be afforded an opportunity to participate in

  21    these kinds of sexual predator mental health services.

  22                Beyond that, whatever Bureau of Prisons services are

  23    available to you, you can decide what you want.           But that's

  24    the most important one.       I am going to restrict you from

  25    having contact with any of the victims who have made
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                                                                            54


    1   themselves known to me.       So no letters of apology, no efforts

    2   to explain, no digging out of this hole.         If your therapist at

    3   some point along the way deems that helpful for your recovery,

    4   then it has to go through the United States Attorney's Office

    5   for a decision to be made as to whether to pull the scab off

    6   the wound again, but I am going to impose that limitation on

    7   you while you're incarcerated, that there's to be no contact

    8   with any victim or any alleged victim or any claimed victim or

    9   anybody else of that sort.       You cannot, in that way, do

  10    anything other than add to the damage, and you don't have

  11    permission to do that.

  12                So the period of incarceration that I'm going to

  13    impose is 336 months.      It's not the low end of the guidelines.

  14    It's not even actually halfway through the guidelines, but

  15    it's a little bit up off the bottom end of the guidelines

  16    because that reflects the seriousness of this offense, your

  17    history and characteristics, the need to protect the public,

  18    and for a sentence that is not disparate from other people who

  19    are convicted for similar behavior.

  20                That will be followed by ten years of supervised

  21    release.    I won't impose life because I think it will probably

  22    be tantamount to life by the time you get out, but that will

  23    be the period of supervised release subject to the terms and

  24    conditions that have been imposed, I mean, that are laid out

  25    in the report.     Those I am imposing now.
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    1               I'm going to impose a $5,000 fine.        It's a

    2   substantial departure, but I'm going to recommend and order

    3   therefore that this be paid into the Victim Impact Fund that

    4   Mr. Shepard referred to earlier that finances therapy programs

    5   for victims, even if they can't otherwise document the costs

    6   that they would bear.

    7               So the $5,000 fine will be imposed as such, but it

    8   will be allocated to basically some sort of restitution-based

    9   funding program.     The hundred dollar special assessment I've

  10    spoken of before is a mandatory fee.         So we'll make that

  11    payable through the Inmate Financial Responsibility Program.

  12                That's the sentence that I intend to impose and

  13    those are my reasons.      Mr. Inman, do you have any legal

  14    objection to the sentence or do you request any further

  15    elaboration of my reasons?

  16                MR. INMAN:    I do not, Your Honor.

  17                THE COURT:    And is that true with respect to the

  18    supervised release terms?

  19                MR. INMAN:    Yes, ma'am.

  20                THE COURT:    Mr. Shepard, do you have any objection

  21    or request any further elaboration of my reasons?

  22                MR. SHEPARD:    No, Your Honor.

  23                THE COURT:    Is that true for the supervised release

  24    terms as well?

  25                MR. SHEPARD:    It is, Your Honor.
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    1               THE COURT:    The sentence then that I have announced

    2   as my intended sentence, Mr. Jenkins, is now the judgment of

    3   the Court, and a Judgment and Commitment Order will be drawn

    4   up to reflect these elements and they'll bind you in these

    5   ways until the judgment's fully satisfied.

    6               Now, you do get credit for the time you've served

    7   awaiting today's sentencing hearing.         I know that in terms of

    8   federal custody, you've been detained since May of 2015.            So

    9   that will be counted against the sentence that I've imposed

  10    today.

  11                Is there a place that you want me to recommend other

  12    than a place where he can get the kind of specialized

  13    counseling that I've mentioned, Mr. Inman?

  14                MR. INMAN:    Your Honor, obviously an appropriate

  15    facility given the nature of the offense, and then somewhere

  16    close to southern Indiana.

  17                THE COURT:    All right.    We'll combine those

  18    recommendations, Miss Neat, so that the Bureau of Prisons

  19    knows that we'd like to accomplish both of those goals.

  20                Now, pursuant to your plea agreement, because this

  21    is a guideline sentence, my understanding is that you've

  22    waived your right to appeal this decision.          You also as part

  23    of your plea agreement gave up your right to appeal the

  24    supervised release terms and the fact of the conviction, which

  25    is to say a challenge to the merits of the Government case
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    1   when you pled guilty.

    2               So whether or not you intend to take an appeal of

    3   this sentence is not a judgment that I make, but you need to

    4   talk to Mr. Inman about that.        He will continue to give you

    5   the benefit of his excellent advice.         You need to listen to

    6   him, but he'll listen to you as well.         If you think you've

    7   retained a right to appeal this sentencing decision, you have

    8   to file your notice of appeal within two weeks of the entry of

    9   the judgment on the docket of the court.

  10                Today is Tuesday.     It's likely to be docketed before

  11    the week is over.      So you can count the two weeks ahead and

  12    know basically when the time would expire.          That's why you

  13    need to have this conversation promptly with Mr. Inman, so

  14    that you can settle on an agreed strategy going forward.            Do

  15    you understand that, Mr. Jenkins?

  16                THE DEFENDANT:     Yes, Your Honor.

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    1               THE COURT:    So is there anything further that the

    2   Court needs to address today, Mr. Inman?

    3               MR. INMAN:    No, Your Honor, thank you.

    4               THE COURT:    Or from you, Mr. Shepard?

    5               MR. SHEPARD:    No, Your Honor.

    6               THE COURT:    All right.    Thank you again, counsel,

    7   very much.    Mr. Jenkins, good luck to you, sir.

    8                      (Court adjourned at 3:55 p.m.)

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  13                        CERTIFICATE OF COURT REPORTER
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  16                I, Laura Howie-Walters, hereby certify that the
  17    foregoing is a true and correct transcript from reported
  18    proceedings in the above-entitled matter.
  19

  20

  21    /S/LAURA HOWIE-WALTERS        November 20th, 2020
  22    LAURA HOWIE-WALTERS, FCRR, RPR, CSR
        Official Court Reporter
  23    Southern District of Indiana
        Indianapolis Division
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